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              EXHIBIT

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                                                              TRIAL COURT OFMASSACHUSETTS
      CIVIL ACTION COVER SHeET                            SUPERIOR COURT DEPARTMENT                     DOCKET NO.O       8·" Q7 'I 5-.D
                                                        COUNTY:     SUFFOLK

                                                                                      MERRILL LYNCH PieRCE FENNER
       PLAINTIFF(5) JOSEPH IANTOSCA, ET AL                               DEfENDANT(S) & SMITH, INC.


      ATTORNEY, FIRM NAME, ADDRESS AND TELEPHONE                         AITORNEY(IF KNOWN)
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              (Before trial)                            (F)               Order (Mass.R.Civ.P. 60).                  ;!;':_. ~      ',(X)
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                                   TYPE OF ACTION AND TRACK DESIGNATION (See reverse side)     .'
  CODE NO.                TYPE OF ACTION (specify)  TRACK                                  IS THIS A JURY CASE?
   "BlIq                   -:f"(.2AU})                              'F                                   Yes/No             Yes
  The following is a full, Itemized and detailed statement of the facts on whlch plaintiff relies to determine
  money damages. For this form, disregard double or treble damage claims; Indicate single damages only.
                                                                                                                                                         ,
                                                              TORT CLAIMS
                                         (Attach additional sheets as necessary)
 A.         Documented medlcal expenses to date;




                                                                                                                             ~
            1. Total hospital expenses
            2. Total Doctor eXfienses
            3. Total chiroprac ic expenses
            4. Total physical tberaprc expenses
            5. Total other expenses describe)
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                                                                                                                             flO,:w:O
                                                                                                            Subtotal
 B.      Documented lost w~s and comrcensation to date	                                                                      s
 C.      Documented proJ,J~ damages 0 date
 D.      Reasonably lmticlpatcd future medical and hospital expenses
 E.      Reasonably anticiSlIted lost wages
 F.	     Other documeute items of damages (describe)
                                                                                                                             $
 G.         Brie~
            description of plaintiffs in    y, including nature and extent of iDjU~dCSCl'ibe)        ~
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                                               CONTRACI CLAIMS
                         ;             (Attach additional sleets as necessary)
Provide a detailed description of clalm(s):


                                                                                                                    TOTAL                        $ ...............
PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY RELATED ACTION PENDING IN THE SUPERIOR
COURT DEPARTMENT                    ,
                                                                                                                                          .
"I hereby ';;crclfy that I have complied with tho requirements of Rule S of the Supreme .Iudicial Court Uniform Rules on I)/$puloResetutlou (SJC
Rule 1:18) requiring lhall provide my ~m::al,~1I1~7ZCd dl$pule resolution services ODd dlscUlswlth them the
advantuges and dlsadvanlages of the varlou I S , "                                 "./                                 8(
Signature nf Attorney of Rceeru                                                                      Date: 2-1l/~O
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                                  COMMONWEALTH OF MASSACHUSETTS

                                     BUSINESS LITIGATION SESSION


     SUFFOLK,55.                                                           SUPERIOR COURT DEPARTMENT


  JOSEPH IANTOSCA, Individually and as Trustee                          )

  of the Faxon Heights Apartments Realty Trust and                      )

  Fern Realty Trust, BELRIDGE CORPORATION,                              )

  GAIL A. CAllALY, JEFFREY M. JOHNSTON.                                )

  BELLEMORE ASSOCIATES, LLC, and                                       )                              o8.-0775-j)

  MASSACHUSETTS LUMBER COMPANY, INC.                                   )        CIVIL ACTION ~~

  Plaintiffs,                                                          )                       ,_.­
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 SMITH,lNC.,
                                                                       )                       ~;~:~
 Defendant.                                                                                    :-r1';.:
---------------)                                                                                   ;:":



                                        COMPLAINT AND JURY DEMAND

                                                          PARTIES

 I.      Joseph Iantosca is a natural person and a resident of the Commonwealth. of

. Massachusetts. Mr. Iantosca brings this action individually and as trustee of plaintiffs Faxon

Heights Apartments Realty Trust and Fern Realty Trust.

 2.      BelridgeCorporation is a Massachusetts Corporation with a p,rincipal place of business in
                                                                                    I
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Weymouth, Massachusetts. Mr. Iantosca is the President and sole shareholder of Belridge.
                                                                                   I
3,       Gail A. Cahaly is an individual residing in Westwood, Massachusetts.

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                                                                                   II
  4,      Jeffrey M, Johnston is an individual residing in Boston, Massachusetts,

                                                                     !

  5,      Bellernore Associates, LLC is E\ limited liability company! organized under the laws of


  NewHampshire.

  6,      Massachusetts Lumber Company,
                                     .
                                        Inc. is a Massachusetts ~orporation
                                                                I
                                                                            with its principal

 place of'business in Cambridge, Massachusetts.
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  7.       Merrill Lynch Pierce Fenner & Smith, Inc. ("MerrH Lynch") is a Delaware corporation

  with a usual placeof business at 125 High Street in Boston Massachusetts.


                                                 FACTS


  8.       By letter dated January 16, 2008, the plaintiffs presented Merrill Lynch with a written

 demand for relief'in accordance with Massachusetts General Laws Chapter 93A, § 9 (3).

 9.      .Merrill Lynch did not respond with a reasonable offer within 30 days.

  10.      Merrill Lynch opened and operated brokerage accounts for Benistar Property Exchange

 Trust Company, Inc,

 11.     As its name suggests. Benistar Property Exchange Trust Company, Inc. held money in

 trust for its clients. Specifically, Benistar Property Exchange Trust Company, Inc. had Escrow

 Agreements with its clients, including plaintiffs, under which it agreed to hold its clients funds in

 escrow.

 12.     Gerald Levine, one of the Merrill Lynch brokers who opened and managed the accounts

 for Benistar Property Exchange Trust Company, Inc. was informed by the President of Benistar

and by an attorney for one of Benistar's clients that the funds in Benistar's accounts at Merrill
                                                                                           I
 Lynch belonged to Benistar's clients and were escrow funds that had to be returned on demand

to Benistar's clients.

 D.     TIle Merrill Lynch brokers who opened and managed the accounts for Benistar Property

Exchange Trust Company, Inc. were informed in writing that the funds in Benistar's accounts at
                 I

Merrill Lynch belonged to Benistar's clients and were escrow funds that had to be returned on

demand to Benistars clients.

14.     The documents provided to Merrill Lynch included the Escrow Agreement used by

Benistar to establish its contractual and fiduciary duties with its clients.




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  15.     The documents provided to Merrill Lynch included the Exchange Agreement that

 described in detail Benlstar's contractual and fiduciary duties as an intermediary in accordance

 with Section 1031 of the Internal Revenue Code.

  16.     As described in the Escrow and Exchange documents that were provided to Merrill

 Lynch, and as described to Gerald Levine in the conversations he had with Benistar's president

 and the attorney for one of Benistar's clients, Benistar served as an intermediary for Section

 1031 transactions.

 17.      Section 1031 of the Internal Revenue Code entitles taxpayers to defer capital gains taxes

 on the appreciation of commercial real estate by using the proceeds of a sale of such real estate to

 purchase like-kind property.

 18.      The documents provided to Merrill Lynch explained that Benistar Property Exchange

 Trust Company held in escrow for its clients the proceeds of real estate sales made by its clients

 and that Benistar agreed to hold these funds in escrow pending its clients' need for those funds to

acquire replacementproperty.

 19.     Despite their knowledge that the money in the Benistar accounts belonged to Benistar's
                                                                                          I
clients and was to be held in escrow, the Merrill Lynch brokers approved the Benistar accounts

for highly speculative option trading.

20.      Benistar lost millions through the option trading and, despite demands by plaintiffs, failed

to return approximately $8.7 million to plaintiffs.

21.      In 2001!, plaintiffs sued Benlstar and served a third party subpoena on Merrill Lynch

seeking all documents relating to the Benistar accounts.

22.      Merrill Lynch did not produce the Benistar Escrow and Exchange Agreements or the

correspondence between its broker and the attorney for one of Benistar's clients.




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 23.     Later in 2001, Merrill Lynch was added as a party in this Massachusetts litigation and

 plaintiffs served discovery requests on Merrill Lynch seeking all Information and all documents

 relating to the Benistar accounts.

 24.     Merrill Lynch did not produce the Benistar Escrow and Exchange Agreements               01'   the

 correspondence between its broker and the attorney for one of Benistar's clients, nor did it

 identify these documents and communications.

 25.     Merrill Lynch lied about its involvement with the Benistar accounts and destroyed,

 concealed and/or failed to produce the documents evidencing its participation with Benistar in

 the misuse of Benistar' 5 clients' funds.

 26.    Plaintiffs discovered the documents evidencing Merrill Lynch's participation with

 Benistar in the misuse of its clients' funds after Merrill Lynch's brokers testified under oath that

they had no knowledge that the Benistar accounts containedother people's money.

27,      Despite the testimony by Menill Lynch's brokers denying their knowledge of and

participation with Benistar in the misuse of Benistar's clients' funds, a jury found Merrill Lynch

liable for colluding with Benistar and found that Merrill had violated New York and Connecticut

consumerprotection statutes,

28.     A judgment entered on that verdict prior to the award of damages based            011   Merrill

Lynch's violation of the New York and Connecticut consumer protection statutes. The present

judgment has a value of more than $26,000,000.
                ,
29.     Merrill Lynch has persisted in its denial of liability despite the discovery by plaintiffs of

the documents that Merrill Lynch destroyed, concealed and/or failed to produce and despite its

own knowledge that the testimony provided at trial by its brokers was perjurious,




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 30.      Merrill has pursued litigation in an attempt to harass plaintiffs, to Impose financial costs

 and emotional distress on the plaintiffs and to extort plaintiffs to settle for less then they are

 owed.

 31.      As a result of the unfair and deceptive conduct described above, plaintiffs have suffered

 damages in the form of the attorneys' fees. the loss of use of money) tax liabilities, accountants'

 fees and emotional distress.

 32.      Merrill's Lynch's Board of Director's has adopted Merrill Lynch's Code        0/ Ethics/or
 Financial Professionals and which states: "All financial professionals must ...[ejngage in and

 promote honest and ethical conduct ... [and] act in good faith, responsibly, with due care,

 competence, prudence and diligence, without misrepresenting material facts or allowing one's

 independent judgment or decisions to be subordinated."

         COUNT I - UNFAIR AND DECEPTIVE ACTS PROIUBITED BY G.L. c. 93A

33.      Plaintiffs restate the allegations set forth in paragraphs 1"32 above and incorporate them

by reference as though fully set forth herein.

34.      Merrill Lynch has willfully and knowingly engaged in unfair and deceptive conduct in

violation ofG.L. c. 93A.

35.      Plaintiffs' have been injured by Merrill Lynch's willful and knowing engaged in unfair

and deceptive conduct in violation ofG.L. c. 93A.

36.      Plaintiffs are entitled to compensatory damages, punitive damages and attorneys fees

based on Merrill Lynch's willful and knowing unfair and deceptive conduct.

                                       COUNT II - FRAUD

37.      Plaintiffs restate the allegations set forth in paragraphs 1-36 above and incorporate them

by'reference as though fully set forth herein.




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 38.       Merrill Lynch's willfully and knowingly engaging in unfair and deceptive conduct

 constitutes fraud.

 39.      Plaintiffs have been injured by Merrill Lynch's fraudulent conduct.

 40.      Plaintiffs are entitled to recover from Merrill Lynch the damages caused by Merrill

 Lynch's fraudulent conduct.


                                COUNT III _. MALICIOUS DEFENSE


41.       Plaintiffs restate the allegations set forth in paragraphs 1-40 above and incorporate them

by reference as though fully set forth herein.

42.       In support of Merrill Lynch's defense to plaintiffs' claims based on its collusion with

Benistar in the improper use of plaintiffs' escrow funds, Merrill Lynch created false material

evidence and gavefalse testimony advancing such evidence.

43.       Plaintiffs have been injured by Merrill Lynch's malicious defense.

44.       Plaintiffs are entitled to recover from Merrill Lynch the damages caused by Merrill

Lynch's malicious defense.

          WHEREFORE, plaintiffs demand judgment against Merrill Lynch in an amount
                                                                                        1
sufficient to compensate them for the injuries caused by Merrill Lynch, for punitive damages in

the amount of three times the amount of the judgment on all claims arising out of the same and

underlying transactions or occurrences, for costs and attorneys fees, and for all other relief the

COw1    may deem appropriate.


         PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.




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                           JOSEPH IANTOSCA, [ndividually and as Trustee
                           of the Faxon Heights Apartments Realty Trust and
                           Fern Realty Trust, BELRIDGE CORPORATION,
                           GAIL A, CABALY, JEFFREY M, JOHNSTON,
                           BELLEMORE ASSOqATES, LLC, and
                           MASSACHUSETfS LUMBER COMPANY, INC.
                           By their att rneys,
                                     »:
                              thony R. Ze , BBO No 48141
                           ZELLE MCDONOUG LLP
                           Four Longfellow Place, 35th Floor
                           Boston, MA 02] ]4
                           Tel: (6 J 7) 742-6520
                           Fax: (617) 973·1562

                           William C, Nystrom, BBO NQ. 559656
                           Colleen C. Cook, BBO No. 636359
                           NYSTROM BECKMAN & PARlS LLP
                           10 St. James Avenue, 16th Floor
                           Boston, Massachusetts 02116
                           (617) 778-9100




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